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                      United States Court of Appeals
                                         For the First Circuit
      No. 24-1590
                                          CROSSPOINT CHURCH,

                                              Plaintiff - Appellant,

                                                        v.

        A. PENDER MAKIN, in her official capacity as Commissioner of the Maine Department of
      Education; JEFFERSON ASHBY, in his official capacity as Commissioner of the Maine Human
      Rights Commission; EDWARD DAVID, in his official capacity as Commissioner of the Maine
      Human Rights Commission; JULIE ANN O'BRIEN, in her official capacity as Commissioner of
           the Maine Human Rights Commission; MARK WALKER, in his official capacity as
        Commissioner of the Maine Human Rights Commission; THOMAS L. DOUGLAS, in his
               official capacity as Commissioner of the Maine Human Rights Commission,

                                            Defendants - Appellees.


                                   APPELLANT’S BRIEFING NOTICE

                                             Issued: July 23, 2024


              The record on appeal now being complete with the filing of the transcripts, or the
      Transcript Report Form indicating no new transcripts are required, appellant’s brief must be filed
      by September 3, 2024. Electronic filers must file briefs electronically. Unless appellant is pro se,
      an appendix must also be filed electronically by September 3, 2024. The clerk’s office will then
      review the electronically tendered filing and, if it is compliant with federal and local rules, send a
      notification accepting the brief and/or appendix as filed and setting a deadline for the filing of
      paper copies.

             The deadline for the electronic filing of appellee’s brief will be set in accordance with Fed.
      R. App. P. 31 and 1st Cir. R. 31.0. Parties are advised that extensions of time are not normally
      allowed without timely motion for good cause shown.

              The parties are advised to review the First Circuit Rulebook, with particular attention to
      the following Federal and Local Rules of Appellate Procedure:

      1st Cir. R. 11.0, 28.0, and 28.1         Briefs are public documents and will not be sealed absent
                                               timely motion. Sealed or non-public documents, such as
                                               a presentence investigation report or statement of reasons
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                                             in a criminal case, must be filed in a separate volume of
                                             the addendum or appendix clearly marked “FILED
                                             UNDER SEAL,” with an appropriate motion for leave to
                                             file the document under seal.

      Fed. R. App. P. 28(a)(8)(A) and 28(e) Briefs must contain citations to the parts of the record on
                                            which the appellant relies. References to parts of the
                                            record contained in the appendix must be to the pages of
                                            the appendix. If the brief refers to an unreproduced part
                                            of the record, any reference must be to the page of the
                                            original document.

      1st Cir. R. 28.0                       An addendum must be attached to the appellant’s brief.
                                             The addendum must contain the judgments, rulings or
                                             orders appealed from and any supporting opinions,
                                             memoranda, or statements of reasons. It must also contain
                                             the following: portions of any instructions to the jury
                                             which are the subject of appeal; pertinent portions of any
                                             document in the record that is the subject of an issue on
                                             appeal; and items or short excerpts from the record, if
                                             necessary for understanding the specific issues on appeal.
                                             In cases where the district court adopts a magistrate
                                             judge’s report and recommendation, the report and
                                             recommendation must be included in the addendum, in
                                             addition to the order adopting it. In cases where the
                                             district court reviewed an agency decision, the agency
                                             decision must be included in the addendum, in addition
                                             to the district court order or opinion.

      Fed. R. App. P. 30                     An appendix is required in all counseled cases, and paper
      1st Cir. R. 30.0                       copies of the appendix should be printed on two sides of
                                             each page. The appendix must begin with a table of
                                             contents identifying the page at which each part begins.
                                             The relevant docket entries must follow the table of
                                             contents. If the parties are unable to agree as to the
                                             contents of the appendix, they must follow the procedure
                                             outlined in Fed. R. App. P. 30(b).

      Fed. R. App. P. 30(a) and 31(b)        Parties must file ten copies of their brief and addendum
      1st Cir. R. 30.0(a) and 31.0(b)        and five copies of the appendix, after the electronic brief
                                             and appendix have been accepted for filing. If the brief is
                                             filed in paper form, the disk required by 1st Cir. R. 32.0
                                             constitutes one copy. If the brief is filed electronically,
                                             the electronically filed brief counts as one copy, and the
                                             paper copies are not due until the clerk’s office sends
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                                              notification directing the ECF Filer to submit the
                                              remaining copies. The Notice of Docket Activity
                                              generated by the court’s electronic filing system
                                              constitutes service on all ECF Filers when the brief is
                                              filed electronically. One copy of the appendix must be
                                              served on each unrepresented party who is not registered
                                              as an ECF Filer using a method of service permitted by
                                              Fed. R. App. P. 25(c)(1). Caveat: Pro se parties
                                              proceeding in forma pauperis need only file four copies
                                              of their brief. Pro se parties are not required to file
                                              appendices pursuant to 1st Cir R. 30.0(d)(1).

                                              Represented parties must serve two copies of their brief
                                              on each unrepresented party and on opposing counsel for
                                              each separately represented party if the brief is filed in
                                              paper form, or if the recipient is not registered as an ECF
                                              Filer.

                                              Pro se parties must serve one copy of their brief on each
                                              unrepresented party and on opposing counsel for each
                                              separately represented party if the brief is filed in paper
                                              form, or if the recipient is not registered as an ECF Filer.

      Fed. R. App. P. 32(a)(2) and 32(b)(1) Except for filings by pro se parties, the cover of the
                                            appellant’s paper brief must be blue, the cover of the
                                            appellee’s paper brief must be red, and the cover of any
                                            paper reply brief must be gray. The cover of the paper
                                            appendix must be white.

      Fed. R. App. P. 32(a)(5)                Briefs must be produced using either a 14 point
                                              proportionally spaced typeface, such as Times New
                                              Roman, or a 12 point monospaced typeface, such as
                                              Courier.

      Fed. R. App. P. 32(g)(1)                If a principal brief exceeds 30 pages, or a reply brief
                                              exceeds 15 pages, the brief must include a certificate of
                                              compliance certifying that the brief complies with the
                                              typeface and length limitations of Fed. R. App. P.
                                              32(a)(7)(B).

              The First Circuit Rulebook, which contains the Federal Rules of Appellate Procedure, First
      Circuit Local Rules and First Circuit Internal Operating Procedures, is available on the court’s
      website at www.ca1.uscourts.gov. Please note that the court’s website also contains tips on filing
      briefs and appendices, including a checklist of what your brief must contain.
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             Failure to file a brief, or an appendix if required, in compliance with the Federal and
      Local Rules will result in entry of an order directing the party to file a conforming brief
      and/or appendix and could lead to dismissal of the appeal. See 1st Cir. R. 3.0 and 45.0.

                                                     Maria R. Hamilton, Clerk
      UNITED STATES COURT OF APPEALS
      FOR THE FIRST CIRCUIT
      John Joseph Moakley
      United States Courthouse
      1 Courthouse Way, Suite 2500
      Boston, MA 02210
      Case Manager: Gerry Claude - (617) 748-4275
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                     United States Court of Appeals
                                       For the First Circuit

                NOTICE TO COUNSEL REGARDING CONTENTS OF THE APPENDIX

              In cases where appellant is represented by counsel, the district courts will no longer
      transmit the full record except upon the rare request of the circuit clerk. Accordingly, counsel
      should ensure that the addendum and appendix, combined, include those parts of the record
      necessary to understand the issues on appeal. At the same time, the appendix should not be unduly
      large. Pursuant to Fed. R. App. P. 30(a)(2), counsel may cite to parts of the record not included in
      the appendix.

              The appendix should be printed on two sides of each page. Transcript portions and other
      portions of the record are not considered relevant merely because they are referred to in the
      Statement of the Case or Statement of Facts, if not otherwise necessary for an understanding of
      the issues on appeal. The following is a list of items that typically should be included in the
      appendix if not already in the addendum:

         •   The district court docket report;
         •   The notice of appeal;
         •   Where an issue of appeal is based on written exhibits (including affidavits), the exhibit or
             portion thereof necessary to resolve the issue;
         •   Where an issue on appeal concerns matters raised at a suppression hearing or is otherwise
             based upon a challenge to the admission or exclusion of evidence, relevant portions of the
             transcript, including any discussion by court or counsel involving the evidence, offer of
             proof, ruling or order, and objections at issue;
         •   If the appeal is a collateral attack on a criminal conviction, copies of all relevant opinions
             by any federal court or state appellate court previously rendered in the criminal
             prosecution, any appeal, and any earlier collateral attack;
         •   Where an issue on appeal concerns matters raised at a change of plea hearing, a transcript
             of the proceeding and any plea agreement;
         •   If the appeal is a sentencing appeal, the sentencing hearing transcript and pre-sentence
             report, the latter of which should be filed in a separate sealed volume; and
         •   In a proceeding on a petition for review of an administrative agency decision, the relevant
             portions of the administrative record.

              Other federal and local rules should be carefully consulted and read in conjunction with
      Loc. R. 30.0. Fed. R. App. P. 30 and 32 provide additional guidance as to the form and content of
      the appendix. Local Rule 28.0 provides detailed guidance as to the form, content, and size limit
      of the addendum. Items which are required to be in the addendum include the judgments,
      decisions, rulings, or orders appealed from, including any supporting explanation (e.g., a written
      or transcript opinion), and in addition, where the district court or agency whose decision is under
      review was itself reviewing or acting upon the decision of a lower-level decision-maker; that
      lower-level decision as well (e.g., a recommended decision by a magistrate judge or an initial
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      decision by an administrative law judge). Local Rule 28.0(b) lists optional, but encouraged items.
      Material included in the addendum need not be reproduced in the appendix.

              Sealed or otherwise non-public items should not be included in a public appendix or
      addendum, but rather should be filed in a separate sealed volume. See Local Rules 11.0(d)(1),
      28.0(c), 30(g). For example, a pre-sentence report in a criminal case should not be included in a
      public appendix or addendum. Where a judgment of criminal conviction is required to be included
      in the addendum, the statement of reasons should be filed in a separate, sealed volume. See Local
      Rule 28.0(c). Finally, counsel should comply with the privacy protection requirements of Fed. R.
      App. P. 25(a)(5) and should make appropriate redactions. For more information on redaction
      requirements see the Notice of Electronic Availability of Case Information on the First Circuit's
      website at www.ca1.uscourts.gov.
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                     United States Court of Appeals
                                      For the First Circuit

                             NOTICE TO COUNSEL REGARDING
                          MANDATORY REGISTRATION AND TRAINING
                             FOR ELECTRONIC FILING (CM/ECF)


              On August 21, 2017, the U.S. Court of Appeals for the First Circuit upgraded its CM/ECF
      system to NextGen CM/ECF, the latest iteration of the electronic case filing system. Use of the
      electronic filing system is mandatory for attorneys. If you intend to file documents and/or receive
      notice of docket activity in this case, please ensure you have completed the following steps:

         •   Obtain a NextGen account. Attorneys who had an e-filing account in this court prior to
             August 21, 2017 are required to update their legacy account in order to file documents in
             the NextGen system. Attorneys who have never had an e-filing account in this court must
             register for an account at www.pacer.gov. For information on updating your legacy
             account or registering for a new account, go to the court’s website at
             www.ca1.uscourts.gov and select E-Filing (Information).

         •   Apply for admission to the bar of this court. Attorneys who wish to e-file must be a
             member of the bar of this court. For information on attorney admissions, go to the court’s
             website at www.ca1.uscourts.gov and select Attorney Admissions under the Attorney &
             Litigants tab. Bar admission is not required for attorneys who wish to receive notice of
             docket activity, but do not intend to e-file.

         •   Review Local Rule 25. For information on Loc. R. 25.0, which sets forth the rules
             governing electronic filing, go to the court’s website at www.ca1.uscourts.gov and select
             First Circuit Rulebook under the Rules & Procedures tab.



      cc:
      Tiffany H. Bates
      Sarah A. Forster
      Carol J. Garvan
      David Jonathan Hacker
      Zachary Heiden
      Daniel Mach
      Jeffrey C. Mateer
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      Anahita Sotoohi
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      Christopher C. Taub
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      Camille Peeples Varone
      Heather L. Weaver
